Case 2:05-cv-02509-SHI\/|-dkv Document 44 Filed 08/23/05 Page 1 of 3 Page|D 33

 

FtLED B¥ _.. ..._,., D.C~
IN THE UNITED STATES DISTRICT COUR'I‘

FOR THE WESTERN DISTRICT OF TENNESSEE ,
wEsTERN DIvIsIoN 95 AUG 23 m 6' 5|

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CLEH(,U.S.C¢STF§CTCOLBT

Plaintiffs,
VS. NO. 05-2509-Ma

VOLVO CONSTRUCTION EQUIPMENT
RENTS, INC., ET AL.,

Defendants.

 

ORDER GR.ANTING MOTION TO APPEA.R PRO HAC VICE

 

Before the Court is the August 17, 2005, motion for
admission pro hac vice of Sean P. Trende. Mr. Trende is a member
in good standing of the bar of the state of Texas and is admitted
to practice before the United States Court of Appeals for the
Tenth Circuit. Mr. Trende has obtained and is familiar with the
local rules and professional guidelines of this court. For good
cause shown, the motion is granted and Sean P. Trende is admitted
to participate in this action as counsel for defendants Volvo
Construction Equipment Rents, Inc. and Volvo Construction
Equipment North America, Inc.

q".\"MK'day of August, 2005.

%//Vw,__

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DIS'I'RICT JUDGE

It is so ORDERED this

 

 

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with Rule 58 and/or 79(3) FRCP on _iz__~£'

 

Notice of Distribution

ESSEE

This notice confirms a copy of the document docketed as number 44 in
case 2:05-CV-02509 Was distributed by faX, mail, or direct printing on

August 26, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

